Case 9:19-cv-80825-DMM Document 62 Entered on FLSD Docket 01/08/2020 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                                 CASE NO: 19-CV-80825-DMM

  JENNIFER QUASHA, on behalf of her
  son, H.Q., a minor

         Plaintiffs

  vs.

  CITY OF PALM BEACH GARDENS, FLORIDA

        Defendants
  ________________________________/

                      UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL

         COMES NOW Plaintiff, JENNIFER QUASHA, on behalf of her son, H.Q., by and though

  the undersigned counsel, and pursuant to Fed. R. Civ. P. 41(a)(2), hereby moves this Court to

  dismiss the action without prejudice filed against Defendant, CITY OF PALM BEACH

  GARDENS, FLORIDA.

         Respectfully Submitted on this 8th day of January, 2020

                                      By: s/ Matthew W. Dietz
                                      Matthew W. Dietz, Esq.
                                      Florida Bar No. 0084905




    Disability Independence Group, Inc. * 2990 Southwest 35th Avenue * Miami, Florida 33133
Case 9:19-cv-80825-DMM Document 62 Entered on FLSD Docket 01/08/2020 Page 2 of 2
                                                         Quasha v. City of Palm Beach Gardens, FL
                                                                      Case No.: 19-cv-80825-DMM
                                                                                       Page 2 of 2

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 8, 2020, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system which will send notice of electronic filing to all

  parties and counsel of record in the herewith service list, or in some other authorized manner for

  those counsel or parties who are not authorized to receive notices electronically.

                                        DISABILITY INDEPENDENCE GROUP, INC.
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                                        By: s/ Matthew W. Dietz
                                        MATTHEW W. DIETZ, ESQ.
                                        Florida Bar No.: 0084905




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